- Case-Z:lQ-CV-OOllQ-BCW Document 2-2 Filed 02/21/19 Page 1 of 18

APRIL L. HOLLINGSWORTH (Bar No. 9391)
KATIE PANZER (Bar No. 16919)
HOLLINGSWORTH LAW OFFICE, LLC
1881 South 900 East

Salt Lake City, Utah 84105

Telephone: 801-415-9909
april@aprilhollingsworthlaw.com
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Attorneys for Plaintiff

IN THE THIRD DISTRICT COURT
SALT LAKE COUTY, STATE OF UTAH

 

NICHOLAS BRADBERRY,
COMPLAINT
Plaintiff, (Jury Demand)
vs. Case No.
UNIVERSITY OF UTAH_,
Judge
Defendant.

 

COMES NOW PLAINTIFF NICHOLAS BRADBERRY to complain and allege against

Defendant University of Utah, as folloWs:
NATURE OF THE CASE

This is an action against the University of Utah (“the University”), seeking damages and
redress for deprivation of and retaliation in regards to Plaintiff’s rights protected by the
Rehabilitation Act, (“Rehab Act”) 29 U.S.C. § 794, et seq, and for breach of contract and the
breach of the covenant of good faith and fair dealing.

PARTIES
l. PlaintiffNicholas Bradberry (“Mr. Bradberry”) is an individual residing in Salt Lake

County, Utah.

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APRIL L. HOLLINGSWORTH (Bar No. 9391) < O"”L”

HOLLINGSWORTH LAW OFFICE, LLC 1~30-.; q 1 43__0;[9"‘1
1881 South 1100 East

Salt Lake City, Utah 84105

Telephone: 801 -4 l 5-9909

Email: april@aprilhollingsworthlaw.com

Attorney for Plaintiffs

IN THE THIRD JUDICIAL DISTRICT COURT
IN AND FOR SALT LAKE COUNTY, STATE OF UTAH

NICHOLAS BRADBERRY,
. . _ ; SUMMONS
Plamtlff’ (21-day Summons)

VS. l

l Case No. 190900455
UNIVERSITY OF UTAH, i

' Judge Randall Skanchy

Defendant.

To: University of Utah, 201 Presidents Circle, Salt Lake City, Utah 84112

You are summoned and required to answer the attached complaint. Within 21 days after
service of this summons, you must file your written answer with the clerk of the court at the
following address: Matheson Courthouse, 450 South State Street, P.O. Box 1860, Salt Lake City,
UT 84114-1860, and you must mail or deliver a copy to plaintiffs’ attorneys at the address listed
above. If you fail to do So, judgment by default may be taken against you for the relief demanded
in the complaint. The complaint is on file with the clerk of the court.

DATED this llh day of January, 2019.

HOLLINGSWORTH LAW OFFICE, LLC

/s/ Katie Panzer
Katie Panzer
Attorneys for Plaintiffs

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. Defendant University of Utah is an institution of higher education formed and existing
under Utah Code Ann. § 53B-2-101.

JURISDICTION AND VENUE
. This Court has jurisdiction over the parties and subject matter of this action pursuant to,
Utah Code § 78(B)-3-205.
. Venue is proper in this Court pursuant to Utah Code § 78(B)-3-307.
. Mr. Bradberry filed a Charge of Discrimination with the Equal Employment Opportunity
Commission on October 6, 2018, alleging discrimination based on disability and
retaliation. See Charge of Discrimination, attached as Exhibit l.
. The EEOC issued Mr. Bradberry a Notice of Right to Sue on October 19, 2018. See
Notice of Right to Sue, attached as Exhibit 2. Mr, Bradberry has satisfied all
administrative prerequisites necessary to file this lawsuit.

FACTUAL ALLEGATIONS

. Mr. Bradberry began working for the University’s SCI Institute in early March of 2018.
He was hired as the software developer for the SCI Institute’s IT department As the IT
department’s sole software developer, Mr. Bradberry was responsible for handling all of
the software requirements of the SCI Institute.
. Mr. Bradberry has been diagnosed with Attention Deficit Hyperactivity Disorder
(“ADHD”), Major Depressive Disorder, and General Anxiety Disorder.
. When Mr. Bradberry was hired, he worked under the supervision of Nick Rathke, the
Director of the SCI Institute Computing Facility. Mr. Rathke allowed Mr. Bradberry

significant freedom as far as when he Worked and when he took breaks. Mr. Rathke did

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not require Mr. Bradberry to have a consistent schedule and only asked that Mr.
Bradberry notify him if he Would not be in the office on a particular day.

Due to his ADHD, Mr. Bradberry has difficulty sitting still for long periods of time. The
freedom that Mr. Bradberry had under Mr. Rathke allowed him to develop a routine that
accommodated his ADHD_Mr. Bradberry would set Smaller goals for himself and,
when he completed a goal, reward himself by taking a walk for a few minutes,

Due to his depression and anxiety disorder, Mr. Bradberry occasionally needed to take a
day off or adjust his hours. Mr. Rathke always accommodated this need as long as Mr.
Bradberry kept him informed about his schedule.

Because Mr. Rathke’s supervision style allowed Mr. Bradberry to self-accommodate his
disabilities, Mr. Bradberry never had to make formal requests for accommodations

In June of 2018, Mr. Rathke resigned his position as director. He was replaced by Ali
Moeinvaziri.

When Mr. Moeinvaziri became Mr. Bradberry’s supervisor, he stopped by Mr.
Bradberry’s office to discuss the transition. Mr. Moeinvaziri asked Mr. Bradberry to
provide him with a set schedule of his hours. Mr. Bradberry tried to explain that he did
not have a set schedule, but Mr. Moeinvaziri responded in a hostile manner.

Mr. Moeinvaziri also asked Mr. Bradberry if he belonged to any religion. Mr. Bradberry
explained that while he was not religious, he did practice meditation as a way to cope
with his ADHD. In response, Mr, Moeinvaziri said something to the effect of`, “Oh, I’ve
never managed anyone with ADHD before,” and asked Mr. Bradberry if he needed any

help.

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Mr. Bradberry explained that he would do his best to stick to a set schedule but that it
would be difficult for him. He explained that having a flexible schedule helped to
accommodate his ADHD because it helped with his time management issues.

Mr. Moeinvaziri did not respond to Mr. Bradberry’s request for a flexible schedule, nor
did he engage in the interactive process with Mr. Bradberry to find any other
accommodations that would Work.

As soon as Mr. Moeinvaziri became Mr. Bradberry’s supervisor, he was extremely
hostile towards Mr. Bradberry, held him to a higher standard than other employees, and
subjected him to increased scrutiny.

As a new employee, Mr. Bradberry was subject to a six month probationary period. On
July 10, 2018, Mr. Moeinvaziri unilaterally extended Mr. Bradberry’s probationary
period by two months. Mr. Moeinvaziri claimed this Was necessary because he had not
worked with Mr. Bradberry for long and wanted more time to review his performance.
Later that day, Mr. Bradberry overheard Mr. Moeinvaziri talking to Awais Ameen,
another employee in the department, and believed the two were talking about him. Mr.
Bradberry walked over and asked what they were talking about. Mr. Moeinvaziri reacted
with hostility, yelled at Mr. Bradberry, and told him, “I don’t like nosy people.”

After this hostile interaction, Mr. Bradberry went for a walk to clear his head and also
spoke with Diane Kruz, HR Manager, about the incident.

When Mr. Bradberry returned to his office, Mr. Moeinvaziri verbally disciplined him for
leaving his office without permission. Mr. Moeinvaziri also told Mr. Bradberry that his

schedule was only 38 hours and he needed to have a full 40 hours scheduled every week.

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The requirement of 40 hour weeks was not enforced in the rest of the Institute and was
never previously enforced regarding Mr. Bradberry.

Over the next several weeks, Mr. Moeinvaziri continued to subject Mr. Bradberry to
increased scrutiny. In particular, Mr. Moeinvaziri was carefully policing Mr. Bradberry’s
time in the office.

In late July of 201 8, Mr. Bradberry suffered a severe concussion that affected his ability
to Work. The concussion put Mr. Bradberry into a depressive episode and exacerbated his
ADHD symptoms.

Even after taking a week off work to recover, Mr. Bradberry had a difficult time
concentrating and felt especially disorganized. Mr. Bradberry shared these concerns with
Mr. Moeinvaziri. Instead of offering Mr. Bradberry any kind of assistance or
accommodation, Mr. Moeinvaziri mocked Mr. Bradberry, saying something to the effect
of, “Oh, now it’s a concussion and ADHD.”

Due to the issues Mr. Bradberry was experiencing with Mr. Moeinvaziri, he spoke with
several people in the HR department, including Magali Coburn and Andrea Brown. Both
Ms. Coburn and Ms. Brown told Mr. Bradberry that he should address his concerns with
the SCI Institute directors, Dr. Mike Kirby and Dr. Rob MacLeod.

Mr. Bradberry contacted Drs. Kirby and MacLeod and set a meeting with them for
August 24, 2018. During this meeting, Mr. Bradberry explained that he felt that Mr.
Moeinvaziri was hostile towards him and did not treat him the same way he treated Mr.
Ameen.

Dr. MacLeod asked why Mr. Bradberry felt he was treated differently. Mr. Bradberry

explained that he felt that it was because he had ADHD and worked differently than other

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people. Mr. Bradberry told Drs. MacLeod and Kirby about the comment Mr. Moeinvaziri
had made about his ADHD after he got the concussion.
At the conclusion of the meeting, Drs. MacLeod and Kirby told Mr. Bradberry that they
would speak to HR and set a follow up meeting with him the following Tuesday, August
28.,
On August 28, 2018, Dr. Kirby told Mr. Bradberry that he had met with HR and Mr.
Moeinvaziri about his claims of disability discrimination Dr. Kirby then informed Mr.
Bradberry that his employment with the University was being terminated.
The letter of separation given to Mr. Bradberry stated that he was terminated from his
probationary employment because the SCI Institute no longer needed a Software
Developer.
However, Mr. Bradberry was the only Software Developer at the SCI Institute and he was
in the middle of working on several important projects when he was terminated.
On October 11, 2018, less than two months after Mr. Bradberry was terminated, the SCI
Institute posted a job opening for a Software Developer.
At the time of his termination, Mr. Bradberry was making $64,000 per year, plus benefits
equal to ll% of his salary. In addition, Mr. Bradberry would have been eligible for and
planned to utilize tuition benefits starting spring semester of 2019.
FIRST CAUSE OF ACTION
(Violations of the Rehab Act-Failure to Accommodate, Disparate Treatment,
Discrimination, Retaliation, and Unlawful Termination)
Paragraphs 1 through 37 are incorporated as if fully set forth herein.
The Rehab Act provides: “No otherwise qualified individual With a disability shall, solely

by reason of his disability, be excluded from the participation in, be denied the benefits

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of, or be subjected to discrimination under any program or activity receiving Federal
financial assistance.” 29 U.S.C. § 794(a)(2006).

The University of Utah receives federal funds, and the Rehab Act defines “program or
activity” to include “the operations of . .. a college, university, or other postsecondary
institution ...” 29 U.S.C. 794(b)(2)(A).

The Rehab Act defines a disability as “a physical or mental impairment that substantially
limits one or more major life activities...” 29 U.S.C. 794(a), incorporating 42 U.S.C. §
12102(1)(A).

Mr. Bradberry is an individual with a disability as defined under the Rehab Act because
his ADHD, depression, and anxiety all substantially limit him in one or more major life
activities such as thinking, sleeping, and time management

Mr. Bradberry was otherwise qualified for his position as Software Developer because
with reasonable accommodations, he would be able to perform the essential functions of
his job.

Mr. Moeinvaziri failed to engage Mr. Bradberry in the interactive process when Mr.
Bradberry informed him of his disabilities and the issues a strict schedule caused him.
Mr. Moeinvaziri made disparaging remarks about Mr. Bradberry having ADHD and
displayed animus towards him because he worked differently than other people Mr.
Moeinvaziri had managed in the past.

Drs. MacLeod and Kirby failed to correct Mr. Moeinvaziri’s discriminatory actions when

it was brought to their attention.

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The Rehab Act makes it unlawful for an employer to “discriminate against any individual
because such individual has opposed any act or practice made unlawful by this Act, . .” 29
U.S.C. § 794(d), incorporating 42 U.S.C. § 12203).

Drs. MacLeod and Kirby terminated Mr. Bradberry’s employment four days after he
complained to them of disability discrimination.

Mr. Bradberry was told that the SCI Institute no longer needed a Software Developer,
despite the fact that Mr. Bradberry Was in the middle of several important projects for the
Institute.

The University of Utah’s conduct violated the Rehab Act and, as a result of such
violation, Mr. Bradberry is entitled to recover damages in an amount to be established at
trial, including lost wages, benefits, and front pay in lieu of reinstatement

The University of Utah’s actions Were Willful and intentional and as such, Mr. Bradberry
is entitled to punitive damages in an amount to be determined at trial.

Mr. Bradberry is also entitled to recover his reasonable attorney’s fees and costs incurred

herein,

SECOND CAUSE OF ACTION
(Breach of Contract)

Paragraphs 1 through 49 are incorporated as if fully set forth herein.

The University’s policies constitute a contract that was binding upon Mr. Bradberry and
the University.

Mr. Bradberry performed all of his legal obligations under these contracts.

University Policy 1-012 provides employees protection from retaliation for engaging in

protected activity, including making a complaint of discrimination.

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Mr. Bradberry made a complaint of disability discrimination to Drs. Kirby and MacLeod
when he told them that Mr. Moeinvaziri treated him worse than other employees because
he has ADHD.

The University breached its anti-retaliation policy in dealing with Mr. Bradberry’s
complaint about disability discrimination by terminating his employment in response to
his complaint.

Mr. Bradberry suffered damages arising out of and caused by the University’s breach of
their contract.

As such, the University is liable to Mr. Bradberry for all damages that flow from the
University’s breach and that are recoverable pursuant to Utah law, including but not
limited to lost wages, the value of lost benefits, compensatory damages, injunctive relief,
and consequential damages, including attorneys’ fees and costs.

THIRD CAUSE OF ACTION
(Breach of the Duty of Good Faith and Fair Dealing)

Paragraphs l through 57 are incorporated as if full set forth herein.

Under Utah law, a duty of good faith and fair dealing exists in all employment
relationships.

The University breached this duty by allowing, and even facilitating, retaliation against
Mr. Bradberry after he made a complaint of disability discrimination to Drs. Kirby and

MacLeod.

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The University’s actions and omissions were inconsistent With the agreed common
purpose of the parties of supporting the operations of the University, and the justified
expectations of Mr. Bradberry that his employer would abide by its own policies.

Mr. Bradberry is entitled to all damages flowing from this breach, including his lost
wages and future pecuniary losses, as well as his costs and attorneys’ fees associated with
bringing this action.

JURY DEMAND
Plaintiff requests that this matter be tried before a jury.
CLAIM FOR RELIEF

WHEREFORE, Plaintiff prays for relief and judgment against Defendant as follows:

. For judgment determining that the University violated the Rehab Act and is liable to Mr.

Bradberry for damages equal to his compensatory damages, including lost Wages, salary,

employment benefits, and front pay in lieu of reinstatement;

. For reasonable attorneys’ fees and costs;

. For pre- and post-judgment interest on all amounts awarded to Mr. Bradberry, accruing

from the date of judgment to the date of satisfaction of judgment awarded; and

. For such other and further equitable relief as this Court deems appropriate under the

circumstances
Mr. Bradberry estimates his damages Will exceed $300,000 and therefore this complaint

is subject to Tier 3 discovery.

DATED this 16th day of January, 2019.

-Case -2:19-cv-00119-BCW Document 2-2 Filed 02/21/19 Page 12 of 18

HOLLINGSWORTH LAW OFFICE, LLC

/s/ Katie Panzer
Katie Panzer
Attorneys for Plaintiffs

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EXHIBIT 1

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EEoc Form 5 (11/09)

 

CHARGE or DISCRIMINATION

This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
Statement and other information before completing this form.

Charge Presented To:

|: FEPA
|: Er;oc

 

Agency(ies) Charge No(s):

540-2019-00056

 

Utah Anti-Discrimination & Labor Division

and EEOC

 

State or local AgencJ/, if any

 

 

 

 

Name (ina'icate Mr., Ms., Mrs.) Home Phone Year of Birth
Mr. Nicholas A Bradberry (801) 913-0001 1993
street Address city, state and ziP code

399 park creeke ln, Salt Lake City, UT 84115

 

Na med is the Employer, Labor Organization, Employment Agency, Apprenticeship Comrnittee, or State or Local Government Agency That I Believe Discriminated

Against Me or 0thers. (Ifmore than two, list underPART/CULARS below.)

 

 

 

 

Nal'\’le No. Employees, Members Pl’iorle No.
UNIVERSITY or UTAH soi+ (801) 581-7200
Street Address City, State and Z[P Code

72 Central Campus Dr., Salt Lake City, UT 84112

 

Name

No. Employees, Members

 

 

Phone No.

 

Street Address

City, State and Z[P Code

 

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Latest

09-28-2018

 

THE PARTICU LARS ARE {lf additional paper is needed attach extra sheet(s}}.'

I was hired by the above agency in or around March 2018 as a software developer. In or around July 2018, I informed Ali
Moeinvaziri, Director, of my disability. Ali began to regulate my hours and wanted me to submit daily reports. On or about July
10, 2018, I complained to Diana Cruz, Human Resources, of Ali's treatment towards me and that he was harassing me. I've had
several meetings with management to no avail. On or about August 28, 2018, I was terminated.

I believe I was discriminated against because of my disability in violation of the Americans with Disabi]ities Act of 1990, as

amended.

 

 

l want this charge filed with both the EEOC and the State or local Agency, if any. l will
advise the agencies if l change my address or phone number and l will cooperate fully with
them in the processing of my charge in accordance with their procedures

NOTARY - When necessary for State and L aca/Agency Requirernents

 

 

 

[ declare under penalty of perjury that the above is true and correct.

Digitally signed by Nicholas Bradberry on 10-06-2018 03:02 PM EDT

 

I swear or affirm thatI have read the above charge and that it is true to the
best of my knowledge, information and belief.
SIGNATURE oF COMPLAlNANT

SUBSCR[BED AND SWORN TO BEFORE ME THlS DATE
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EEoc Form 5 (11/09)

 

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|: Er;oc

 

Agency(ies) Charge No(s):

540-2019-00056

 

Utah Anti-Discrimination & Labor Division

and EEOC

 

State or local AgencJ/, if any

 

 

 

 

Name (indicate Mr., Ms., Mrs.) Home Phone Year of Birth
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street Address city, state and ziP code

399 park creeke ln, Salt Lake City, UT 84115

 

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Against Me or 0thers. (Ifmore than tWo, list underPART/CULARS below.)

 

 

 

 

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UNIVERSITY or UTAH soi+ (801) 581-7200
Street Address City, State and Z[P Code

72 Central Campus Dr., Salt Lake City, UT 84112

 

Name

No. Employees, Members

 

 

Phone No.

 

Street Address

City, State and Z[P Code

 

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SIGNATURE oF COMPLAlNANT

SUBSCR[BED AND SWORN TO BEFORE ME THlS DATE
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U.S. EQUAL EN|PLOYMENT OPPORTUN|TY COMM|SS|ON

Phoenlx Dlstrlct Office
3300 N. Centra| Avenue, Suite 690
Phoeni)<. AZ 85012-2504
intake information Group: (800) 669-4000
intake information Group 'l'|'Y: (800) 669-6820
Phoeni)< Status Line: (602) 640-5000

 

TTY (602) 640-5072
FAX (602) 640-5071

Nicholas A. Bradberry
399 park creeke |n
Sa|t Lake City, UT 84115

Subject: Dismissal of Charge
Charge Number:540-2019-0005GC

Dear l\llr. Bradberry:

The purpose of this letter is to inform you that the EEOC has concluded its investigation
of the above-referenced charge of employment discrimination After reviewing the
information in the file including the information you submitted, the EEOC does not
believe that additional investigation would result in our finding a violation,

The EEOC has terminated its investigation into your allegations While we fully
understand that the parties to a charge often have very firm views that the available
evidence supports their respective positions, our final determinations must comport with
our interpretation of the available evidence and the laws we enforce. This |etter, and the
enclosed documentsl will dismiss your case and no further action will be taken by the
EEOC.

Enc|osed is your Dismissal and Notice of Right to Sue. The Dismissal and Notice will
explain your right to pursue the matter in court lf you want to pursue your charge, you
may do so on your own by filing in Federa| District Court within 90-days from the date
that delivery of the Notice was attemrM at your last known address of record or 90
days of receipt of the Notice, whichever is earlier lf you do not file a lawsuit within the
required 90-day period, your right to file a lawsuit in this matter will expire and cannot be
restored by EEOC.

|f you have any questions, please feel free to contact me at (602) 640-5031.

 

Sincere|y,
ncr 19 2018 %Q_”@Z,/
Date Anick F|or<'-'-:_s

Supervisor

 

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Enc|osure with EEOC
FOrm 161 (11/16)

lNFORMAT|ON RELATED TO FlLlNG SU|T
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court gn_o_‘er_Federai iaw.
lf you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title Vll of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic information Nondiscrimination Act (G|NA), or the Age
Discrimination in Employment Act (ADEA):

PRlVATE SulT RlGHTS

|n order to pursue this matter furtherl you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is overl your right to sue based on the charge referred to in this Notice will be lost. lf you intend to
consult an attorney, you should do so prompt|y. Give your attorney a copy of this Noticel and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner. it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if |ater.

Your lawsuit may be filed in U.S. District Court or a State court of competentjurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "comp|aint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. lf sol you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge Genera|lyl suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. lfyou have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRlVATE SU|T RlGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment back
pay due for violations that occurred more than 2 years 13 years) before you file suit may not be collectible. For
examplel if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before '.»'!ii‘|O - not 12/1/10 --in order to recover unpaid wages due for Ju|y 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Tltle Vlll the ADAl G|NA or the ADEA referred to above.
Therefore, if you also plan to sue under Tit|e Vlll the ADA, G|NA or the ADEA, in addition to suing on the EPA
claim, suit must be filed Within 90 days of this Notice a_ng within the 2- or 3-year EPA back pay recovery period.

ATToRNEY REPRESENTATloN -- Title Vll, the ADA or G|NA:

|f you cannot afford or have been unable to obtain a lawyer to represent youl the U.S. District Court having jurisdiction
in your case may, in limited circumstancesl assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned abovel
because such requests do ggt relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC AssisTANcE -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. lf you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number {as shown on your Notice). While EEOC destroys charge files after a certain timel _all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
H|e, please make your review request within 6 months of this Notice, {Before filing suit, any request should be

made within the next 90 days.)

lF YOU FlLE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THI$ OFFICE,

 

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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (l) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability, However, these terms are redefined and il is easier to
be covered under the new law.

If vou plan to retain an attorney to assist vou With your ADA claimt we recommend that vou share this
information with vour attorch and suggest that he or she consult the amended regulations and
appendix. and other ADA related publicationsq available at
|illp:fiwww.ccoc.gnv!l:1\\*.\'i'tvpi:sitlis:il)i|il'v l‘cgu|:\tiolis.ci`m.

“Actual” disability or a “record of"’ a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

> The limitations from the impairment no longer have to be severe or significant for the impairment to
be considered Substantially limiting

> ln addition to activities such as performing manual tasks, walking, seeing, hcaring, spcaking, breathing,
learning, thinking, concentrating, reading, bending, and communicating (morc examples at 29 C.F.R. §
l630.2(i)), “major life activities” now include thc operation of major bodily functions, such as:
functions of the immune system, special sense organs and skin; normal cell growth; and digestive,
genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrinc,
hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ
within a body system.

> Only one maj or life activity need be substantially limited.

> With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating
mcasurcs” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not
considered in determining if the impairment substantially limits a major life activity.

> An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
cancer) is a disability if it Would bc substantially limiting When active.

> An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
months.

“Regardcd as” covci'age:

> An individual can meet the definition of disability if an employment action was taken because of an
actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
condition, or privilege of employment).

> “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
limiting, or that the employer perceives the impairment to be substantially limiting

> The employer has a defense against a “regardcd as” claim only When the impairment at issue is objectively
BO’I'H transitory (lasting or expected to last six months or less) AND minor.

> A person is not able to bring a failure to accommodate claim if the individual is covered only under the
“regarded as” definition of “disability.”

Note: Althouglz the amended ADA states that the definition of disabiiity “slmit be construed broadty” and
“should not demand extensive analysis,” some courts require specificity in the complaint expiuiuing how rm
impairment substantially limits a major life activity cr iv!mi‘faci‘s indicate tire challenged employment action
ives because ofthe impairment Beyourt the initial pieuding .s‘rr¢ge, some courts witt require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at lillp:iiwww.ceoc.iiovilui-y'silviicsitlis:iiviljty reu.ultitions.cl"m.

 

